8187
737085 08-09-2019 2/11

Case 1:19-bk-12004-MB Doc1_ Filed 08/09/19 Entered 68/09/19 14:17:46 Desc
Main Document Page 1of7

RR al Miner irle oem Oma b as ele Lier ie

"United States Bankruptcy Court for the:

' Central District of California

| Case number (i Anown): ___ Chapter you are filing under:
Chapter 7

[1 Chapter 44

Chapter 12
- aes ‘3 [_Icheck if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debfer 1 to refer to a debtor filing alone. A marrled couple may file a bankruptcy case together—called a
joint case—and In joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes If elther debtor owns a cor, When Information Is needed about the spouses separately, the form uses Debtor ft and
Debtor 2to distingulsh between them. In joint cases, one of the spouses must report Information as Debtor 7 and the other as Debtor 2. The

same person must be Debior 1 In all of the forms,

Be as complete and accurate as possible. {{ two married people are filing together, both are equally responsible for supplying correct
Information. if more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

fon Identity Yourselt

41. Your fulf name

Write the name that is on your
government-fssued picture Sean

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

identification (for example, First name First name
your driver's license or
passport). Middie name Middle name
Bring your picture Chandler
identification to your meeting —- Last name Last name :
| with the trustee,
Suffix (Sr., Je, Hl, M1) Suffix (Sr. Jr 4, Ul)
2. All other names you |
have used in the last 8 |
years | i
Include your married or ii
maiden names.
3, Only the last 4 digits of
your Social Security x -x- 8 9 2 6 XXX XX
number or federal OR OR
Individual Taxpayer
Identification number Bx ~ XK - 9 xx - xx - "

(ITIN)
8187737085

a, Any business names
and Employer
Identification Numbers
(BIN) you have used in
the last 8 years

Include trade names and
doing business as names

5, Where you five

6, Why you are choosing
this district to file for
bankruptcy

Main Document

About Debtor 1:

[7]! have not used any business names or EINs.

Business name

Business name

EIN

EIN

12403 Magnolia Bivd.

Number Street

Apt. &

Valley Village CA 91607
City State ZIP Code
Los Angeles County

County

ff your malllng address Is different from the one
above, fll It In here, Note that the court will send
any notices to you at thls mailing address.

Number Street

P.O, Box

City Stale ZIP Code

Check one:

Over the last 180 days before filing this petition, |
have lived In this district longer than in any other
district.

O | have another reason. Explain.

(See 28 U.S.C. § 1408.)

08-09-

Case 1:19-bk-12004-MB Doc1 Filed 08/09/19 Entered'8/09/19 14:17:46. Desc
Page 2 of 7

About Debtor 2 (Spouse Only in a Jalnt Case):

[I have not used any business names or EINs.

Business name

Business name

EIN

EIN

If Debtor 2 lives at a different address:

Number Street

Clly Stale ZIP Code

County

If Debtor 2's malling address Is difforent from
yours, fill It In here. Note that the court will send
any notices to this malling address.

Number Street

PO Box

City State ZIP Code

Check one:

Cc] Over the last 180 days before fillng this petition, !
have lived in this district longer than in any other
district.

Ol { have another reason. Explain.

(See 28 U.S.C. § 1408.)

3/11

8187737085

08-09-2019 4/1

Case 1:19-bk-12004-MB Doc1 Filed 08/09/19 Entered 68/08/19 14:17:46. Desc

Main Document Page 3 of 7

rr Tell the Court About Your Bankruptcy Case

th

The chapter of the
Bankruptcy Code you
are choosing to file
under

a. How you will pay the fee

9.

Have you filed for
bankruptcy within the
last 8 years?

to, Are any bankruptcy
eases pending or belng
filed by a spouse who is
not filing this case with

11.

you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Cheek one, (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankrupley (Form 2010)). Also, go to the tap of page 1 and check the appropriate box.

Chapter 7

CO Chapter 11
[\chapter {2
[chapter 13

twit pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashler's check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

with @ pre-printed address.

(Ji need to pay the fee in installments, If you choose this option, sign and altach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

Ci request that my fee be waived (You may request this option only if you are filing far Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

[vho
C hes. District When Case number
District When Case number _
District When Case number
No
[_lyes.
Debtor Relationship to you
District When Case number, if Known_
Debtor Relationship to you
District When Case number, If known

[Z]No. Goto line 12.
[__lves. Has your landlord obtained an eviction judgment agalnst you?

[7 Ino. Go te tine 12.
[__]yes, Fill out énitiat Statement About an Eviction Judgment Against You (Form 101A) and file It with
this bankruptcy petition.
8187737085 12:

Case 1:19-bk-12004-MB Doc1 Filed 08/09/19 Entered 08/09/19 14:17:46 Desc

Main Document Page 4 of 7

REED enon About Any Businesses You Own as & Sole Proprietor

42, Are you a sole proprietor [7] No. Goto Part 4.

13, Are you fillng under

of any full- or part-time

business?

A sole proprietorship is a

business you operate as an

individual, and is not a Name of business, if any

separate legal entity such as
j art |

3 eoparaten, partnership, or Santi Srat

If you have more than one

sole proprietorship, use a

separate sheet and allach it

to this petition. City Stale ZIP Code

CI Yes, Name and focation of business

Check the appropriate box to describe your business:

O Health Care Business (as defined in 11 U.S.C, § 101(27A))
CO) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

J commodity Broker (as defined in 11 U.S.C. § 101(6))

O None of the above

I you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
ean set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your

Chapter 11 of the U
most recent balance sheet, slatement of operations, cash-flow statement, and federal income tax return or if

Bankruptcy Code and
are youa Saal business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1}(B).
debtor? 7]

No. la ft filk d apt .
For a definition of small m not fing under Chapter 11
business deblor, see (wo. 1am fling under Chapter 11, but !am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

O Yes. | am fling under Chapler 11 and | am a smail business debtor according to the definition in the

Bankruptcy Code.

EEE vere If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attentlon

14. Do you own orhave any = if’ No

property thal poses or Is
alleged to pose a threat

of imminent and
identifiable hazard to
public health or safety?

Or do you own any

OE Hy tht nee If immediate altentlon Is needed, why Is it needed?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

l¥es. What Is the hazard?

Where js the property?
8187737085 153:
Case 1:19-bk-12004-MB Doc1 Filed 08/09/19 Entered 08/09/19 14°17:46 em

Main Document Page 5 of 7

iii br Your Efforts to Recelve a Brieting About Credit Counseling

About Debtor 1:

btor 2 Only Ina Joint C: :
45. Tell the court whether About Debtor 2 (Spouse Only Ina Joint Case)

you have received a
briefing about credit
counseling.

The law requires that you
racelve a briefing about credit
counseling before you file for
bankruptey. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

if you fila anyway, the court
can dismiss your case, you
will lose whatever filing fee
you pad, and your creditors
can begin collection activilles
again,

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Atlach a copy of the cerlificate and the payment
plan, if any, that you developed with the agency.

C | recelved a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file thls bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, If any.

[]! certify that | asked for credit counseling
services from an approved agency, but was
unable to obtaln those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, atlach a separate sheet explaining
what efforts you made to oblain the briefing, why
you were unable to obtain It before you filed for
bankruptcy, and what exigent circumstances
required you to flle this case.

Your case may be dismissed If the court is
dissatisfied with your reasons for not recelving a
briefing before you filed for bankruptcy.

(f the court Is satisfied with your reasons, you must
still raceive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed,

Any extension of the 30-day deadline is granted
only for cause and Is limited to. a maximum of 15
days,

TC lam not required to recelve a briefing about
credit counseling because of:

C] Incapacity, | have a mental illness or a mental
deficiency that makes me
Incapable of realizing or making
rationat decisions about finances,

My physical disabllity causes me
to be unable to participale ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried 1o do so.

[_] Disability.

CT Active duty. { am currently on active military
duly In a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for walver of credit counseling with the court,

C] lam not required to recelve a briefing about

You must check one:

| recelved a briefing from an approved credit
counseling agency within the 180 days before |
fited this bankruptcy petition, and | racelved a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

C] | received a briefing from an approved credit

counseling agency within the 180 days bofore 1
filed this bankruptcy petition, but | do not have a
certiticate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

J | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtaln those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, allach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed If the court Is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court Is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline Is granted
only for cause and is limited to a maximum of 15
days.

credit counseling because of:

Cc Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decistons about finances.

C Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so,

(_] Active duty, (am currently on active military
duty In a military combat zone.

If you believe you are not required to receive a
briefing about cradit counseling, you must file a
motion for walver of credit counseling with the court.
8187737085

Case 1:19-bk-12004-MB Doci1 Filed 08/09/19 Entered

12:53:57 p.m.
08/09/19 7mm

Main Document Page 6 of 7

ra oe: These Questions for Reporting Purposes

16, What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

46a. Are your debts primarily consumer debts? Consumer debis are defined in 11 U.S.C. § 101(8)
as "incurred by an Individual primarily for a personal, family, or household purpose.”

[7] No. Go to tine 16b.
(] Yes. Go to line 47.

16b, Are your debts primarily business debts? Business debts are debls that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CJ No, Go to IIne 16¢.
CJ Yes, Go to line 17.

16c, State the lype of debts you owe that are not consumer debts or business debts.

CJ No. |am not filing under Chapter 7. Go to line 18.

Yes. | atm filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

No
[ves

[_] 28,004-50,000

18. How many creditors do 1-49 _] 4,000-5,000 |
you estimate that you [_] 50-99 [_] 5,001-10,000 [| 50,001-100,000
owe? [_] 100-199 [_] 10,001-25,000 |_| More than 100,000
[_| 200-999
149. How much do you [J] s0-350,000 [] $1,000,001-$10 million [_] $500,000,001-81 bittlon
estimate your assets to —_[_] $50,001-$100,000 |] $10,000,001-$50 million | $1,000,000,001-$10 billion
be worth? [_] $100,001-$500,000 [| $50,000,001-$100 million |] $10,000,000,001-$50 bition
§500,001-$1 million | $100,000,001-$500 millon |__| More than $50 billion
20. How much do you |] $0-$50,000 ~ ] $1,000,001-$10 million [_]$500,000,001-$1 bition
estimate your liabilitles — (_] $50,001-$100,000 [| $410,000,001-$50 million | $1,000,000,001-$10 billion
to be? [_] $100,001-$500,000 | $50,000,001-$100 miltion [| $10,000,000,001-$50 billion
[_] $500,001-$1 million | $100,000,001-$500 milion [__] More than $50 billion
| have examined this petitlon, and | declare under penalty of perjury that the information provided is true and
For you correct.

If{ have chosen to file under Chapter 7, | am aware that t may proceed, It eligible, under Chapter 7, 11,42, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no allorney represents me and I did not pay or agree lo pay someone who is nolan attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C, § 342(b),

| request reltef In accordance with the chapter of title 11, United States Code, specified In this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

ene 2, 1341, 15J9-agd 3571.
eo
eypemtea on 08/08/2019

MM ¢ DD /YYYY

x

Signature of Debtor 2

Executed on
MM / DD

tYyvy

8187737085

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

Case 1:19-bk-12004-MB Doc1 Filed 08/09/19 Entered’ O8/G9/15 14°17°46 Desc 7°"

Main Document Page 7 of 7

{, the attorney for the debtor(s) named in this petition, declare that | have Informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Cade, and have explained the rellef
avallable under each chapter-for which the person Is eligible. | also certify that | have delivered to the dablor(s)
the natice required-by 11 U.S.C. § 342(b) and, In a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge aflef an inquiry that the Information In the schedules fited with the petition Is incorrect,

x / {Aa Date 08/08/2019
Signatike of Attorney for Debtor Sy MM ¢ DD /YYYY

Armen Shaghzo
Printed name

Shaghzo Law Firm
Firm name

100 W. Broadway Ave.
Number Street

Suite 540

Glendale CA 91210

City State ZIP Code

Contact phone 9105954555 Emalatiiess as@shaghzolaw.com
178802 CA

Bar number Slate
